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                             UNITED STATES DISTRICT COURT
                                       FOR THE                           2t2J JUL 24 AM 9: 55
                                 DISTRICTOF VERMONT
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UNITED STATES OF AMERICA                         )                        gy_ ,9/.1/'~~
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               V.                                )            Crim. No. 2:23-mj-00011-kjd
                                                 )
CATHERINE TEIXEIRA,                              )
          Defendant.                             )

                        MOTION OF THE UNITED STATES TO
                    REVOKE CONDITIONS OF RELEASE AND TO SEAL

       The United States of America, by and through its attorney, Nikolas P. Kerest, United States

Attorney for the District of Vermont, respectfully moves to revoke the defendant's pretrial release

pursuant to 18 U.S.C. § 3148.

       On July 6, 2023, the defendant appeared before the Court for a change of plea and bond

hearing. The defendant pled guilty to Count 1 of an Information charging a violation of 21 U.S.C.

§ 844. The defendant was released on conditions to include the condition to report directly to

residential treatment effective July 7, 2023.        Specifically, pursuant to section 7(u) of the

conditions of release the defendant was told that "Once a treatment bed is available, the defendant

shall report directly to the approved residential treatment program upon release. The defendant

shall abide by program rules and regulations, execute all release forms, successfully complete the

program, and follow all aftercare instructions and recommendations."

       On July 7, 2023, the defendant commenced residential treatment at Serenity House. On

July 13, 2023, U.S. Probation spoke with the defendant and her clinician at Serenity House. The

defendant advised she did not want to live with her husband or father upon discharge and was

looking for other housing options. She stated she was interested in applying to Jenna's Promise

and Vermont Foundation of Recovery (VFOR). Probation requested that the defendant and her



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clinician keep probation updated on the plan and if the defendant was getting an extension. Her

expected completion date was July 22, 2023.

       On July 20, 2023, U.S. Probation spoke with Serenity House staff about the defendant's

discharge date. Probation was informed that the defendant was administratively discharged that

morning. Probation had not previously been notified of the discharge. Later that day, the defendant

told probation that she was discharged one day prior to her successful completion because she

"kissed someone." She further stated she was on her way to Valley Vista. She advised she was

accepted and was hoping to get in today.

       Probation called and spoke with the staff at Valley Vista. Valley Vista accepted the

defendant; however, she does not have a bed date. The defendant is presently supervised by

Probation Officer (PO) Melinda Perez. PO Perez informs the government that probation will

recommend the defendant's pre-sentence detention upon her arrest.

       The Government believes the defendant violated condition 7(u) by not completing the

residential treatment program upon her release. Pursuant to Title 18, United States Code, Section

3148, the United States asserts that the defendant is subject to revocation of the Court's release

order and, requests that the Court issue a warrant for the defendant's arrest so she may be brought

before the Court to show cause why her conditions of release should not be revoked.            The

government also moves the Court to seal this motion and any related order, the arrest warrant, and

all corresponding docket entries until the defendant's arrest.




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Dated at Burlington, in the District of Vermont, this 24th day of July, 2023.

                                                     Respectfully submitted,

                                                     UNITED STATES OF AMERICA

                                                     NIKOLAS P. KEREST
                                                     United States Attorney


                                             By:     /s/Zacha
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